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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                              :
ex rel. CRYSTAL JOHNSON,                               :       NO.: 17-cv-1012
                                                       :
               Plaintiff,                              :       FILED UNDER SEAL
                                                       :
v.                                                     :
                                                       :
LINDE AG, et al.,                                      :
                                                       :
               Defendants.                             :

                                                  ORDER

       And now, this ____ day of _____________, 2020, IT IS ORDERED that:

1. The following documents shall be unsealed:

       (a) the Complaint;

       (b) the Notice of Intervention for Purpose of Settlement;

       (c) this Order; and

       (d) any pleadings or orders filed after this time, including but not limited to Plaintiffs’ Joint

       Stipulation of Dismissal, when filed, and its accompanying order.

2. All other pleadings shall remain under seal.

                                                       BY THE COURT:



                                                       ___________________________________
                                                       HARVEY BARTLE III
                                                       Senior Judge, United States District Court
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                              :
ex rel. CRYSTAL JOHNSON,                               :     NO.: 17-cv-1012
                                                       :
               Plaintiff,                              :     FILED UNDER SEAL
                                                       :
v.                                                     :
                                                       :
LINDE AG, et al.,                                      :
                                                       :
               Defendants.                             :

                     UNITED STATES’ NOTICE OF INTERVENTION
                        FOR THE PURPOSE OF SETTLEMENT

       Pursuant to the False Claims Act, 31 U.S.C. §§ 3730(b)(2) and (b)(4), the United States of

America notifies the Court of its decision to intervene for the purpose of settlement against

defendants Linde AG and Linde Engineering North America, Inc.1 (collectively, “Linde”). The

United States and the Relator have settled the claims asserted against Linde in this matter.

       The United States requests that the following documents be immediately unsealed:

       a.      This Notice of Election to Intervene; and

       b.      The relator’s Complaint;

       c.      The joint Stipulation of Dismissal; and

       d.      Any resulting Orders after the date of this Notice.




1
       Following a corporate restructuring, Defendant Linde AG is now Linde GmbH, and
Linde Engineering North America, Inc. is now Linde Engineering North America LLC.


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        The United States requests that all other papers or Orders on file in this matter remain under

seal.

        Upon payment pursuant to the Settlement Agreement, the United States and the relator will

file a Stipulation of Dismissal as well as an accompanying proposed order.

        A proposed order accompanies this notice.


 Dated: September 23, 2020          Respectfully submitted,

                                    JEFFREY BOSSERT CLARK
                                    Acting Assistant Attorney General

                                    WILLIAM M. McSWAIN
                                    United States Attorney

                                    /s/ Charlene Keller Fullmer for
                                    GREGORY B. DAVID
                                    Assistant United States Attorney
                                    Chief, Civil Division

                                    _/s/ Paul W. Kaufman________________
                                    LANDON Y. JONES III
                                    PAUL W. KAUFMAN
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                                    P.O. Box 261, Ben Franklin Station
                                    Washington, DC 20044




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                              CERTIFICATE OF SERVICE

       I hereby certify that on this date a copy of only the foregoing Notice of Intervention

for the Purpose of Settlement was sent by electronic mail to the following counsel for

Relator:

                          Stephen S. Hasegawa, Esquire
                          Phillips & Cohen LLP
                          100 The Embarcadero, Suite 300
                          San Francisco, CA 94105


                                                  ______________________________
                                                  Paul W. Kaufman
                                                  Assistant United States Attorney


Dated: September 23, 2020




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